              United States Court of Appeals
                              For the First Circuit

No. 23-1765
                      NATALIE ANDERSON; ANDRE C. BISASOR,

                                   Plaintiffs - Appellants,

                                              v.

 PATRICK DONOVAN; NH SUPREME COURT; NH RULES ADVISORY COMMITTEE;
         NH PROFESSIONAL CONDUCT COMMITTEE; LORRIE PLATT,

                                  Defendants - Appellees.


                                        MANDATE

                                    Entered: June 9, 2025

       In accordance with the judgment of September 23, 2024, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                           By the Court:

                                           Anastasia Dubrovsky, Clerk


cc:
Natalie Anderson
Andre C. Bisasor
John M. Formella
